                                                                                          08/27/2024


                                          DA 24-0136
                                                                                      Case Number: DA 24-0136


              IN THE SUPREME COURT OF THE STATE OF MONTANA

                                      2024 MT 197N


AUSTIN LAKE,

              Petitioner and Appellant,

         v.

DEPARTMENT OF LABOR AND
INDUSTRY, UNEMPLOYMENT
INSURANCE APPEALS BOARD,

              Respondent and Appellee.



APPEAL FROM:          District Court of the Twentieth Judicial District,
                      In and For the County of Sanders, Cause No. DV-2023-77
                      Honorable Deborah Kim Christopher, Presiding Judge


COUNSEL OF RECORD:

               For Appellant:

                      Austin Lake, Self-Represented, Condon, Montana

               For Appellee:

                      Quinlan L. O’Connor, Chief Legal Counsel, Aleea K. Sharp, Agency
                      Counsel, Montana Department of Labor &amp; Industry, Helena, Montana



                                                 Submitted on Briefs: July 17, 2024

                                                           Decided: August 27, 2024

Filed:
                                Vor-641•—if
                      __________________________________________
                                       Clerk
Chief Justice Mike McGrath delivered the Opinion of the Court.


¶1     Pursuant to Section I, Paragraph 3(c), Montana Supreme Court Internal Operating

Rules, this case is decided by memorandum opinion and shall not be cited and does not

serve as precedent. Its case title, cause number, and disposition shall be included in this

Court’s quarterly list of noncitable cases published in the Pacific Reporter and Montana

Reports.

¶2     Austin Lake appeals from the February 28, 2024 dismissal of his petition for judicial

review of the Department of Labor and Industry, Unemployment Insurance Appeals

Board’s (Board) affirmation of his disqualification for unemployment insurance benefits.

We affirm.

¶3     Lake timely appealed a determination that he was not qualified to receive

unemployment insurance benefits to the Board. The Board affirmed and mailed its

decision to Lake on August 8, 2023. At the bottom of the decision, printed in bold, was a

notice that it was the Board’s final decision and that Lake had 30 days from the date of

mailing to appeal the decision to the district court. See also § 39-51-2410(1)(a), MCA

(“A decision of the board, in the absence of an appeal filed within 30 days . . . , becomes

final 30 days after the decision was sent to the parties at their respective addresses of

record.”). Lake filed his Petition for Judicial Review (Petition) on September 20, 43 days

after the Board mailed its decision to him. The District Court dismissed Lake’s appeal

with prejudice due to his untimely filing. Lake appeals.




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¶4     In his appeal, Lake primarily argues the merits of his case rather than addressing the

timeliness issue that the District Court dismissed on. Lake merely states that he timely

filed his appeal on September 8 in the District Court together with his affidavit of indigence

and motion for briefing schedule. Although Lake signed the Petition on September 8, the

filing date shows it was filed in the District Court on September 20.                 Section

39-51-2410(1)(a), MCA, pertains to the date the petitioner files his appeal, not the date it

is signed. Lake argues—without support—that the clerk delayed in filing his Petition to

bar his appeal. We need not entertain this argument, as even if he had filed on September

8, his Petition would have been past the 30-day deadline. Additionally, Lake concedes that

he filed the Petition with his Motion for Briefing Schedule, which is dated September 10.

The Board’s decision became final when Lake did not file a petition for judicial review

within 30 days of the date of mailing of the Board’s decision. Barnicoat v. Comm’r of

Dep’t of Lab. &amp; Indus., 201 Mont. 221, 224, 653 P.2d 498, 499–500 (1982). The District

Court did not err in dismissing Lake’s untimely Petition.

¶5     We have determined to decide this case pursuant to Section I, Paragraph 3(c) of our

Internal Operating Rules, which provides for memorandum opinions. In the opinion of the

Court, the case presents a question controlled by settled law or by the clear application of

applicable standards of review.

¶6     Affirmed.


                                                  /S/ MIKE McGRATH




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We Concur:

/S/ JAMES JEREMIAH SHEA
/S/ INGRID GUSTAFSON
/S/ BETH BAKER
/S/ JIM RICE




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